Case No. 1:23-cv-02328-SKC-MEH Document 44-5 filed 04/02/24 USDC Colorado pg 1 of
                                      2




                          EXHIBIT 5
   Case No. 1:23-cv-02328-SKC-MEH Document 44-5 filed 04/02/24 USDC Colorado pg 2 of
                                         2




From:
Sent:                            Thursday, May 12, 2022 9:56 AM
To:                              Order;
Subject:                         RE: Order for 5/10-5/12


Great, thank you so much!

Thanks,




From: Order <order@jblast.com>
Sent: Thursday, May 12, 2022 9:37 AM
To:
Subject: RE: Order for 5/10-5/12

Good morning        !

These are finishing up now.

Thank You,
Charlotte McCrary



T 866.240.3865
F 866.299.4364

From:
Sent: Thursday, May 12, 2022 10:23 AM
To: Order <order@jblast.com>;
Subject: RE: Order for 5/10-5/12

Hi Char,

Hope you are great today

I am peeking at the Outbound Orders and I cant see if sheets 23&24 have gone out?

If its too late we can send them out on Monday no biggie. Just wondering

Thanks,




                                                          1
